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                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


JOY A. ALLEN                                         )
                                                     )
       v.                                            )     NO. 3:20-01099
                                                     )
CHRISTINE WORMUTH, SECRETARY                         )
DEPARTMENT OF THE ARMY,                              )


TO:    Honorable William L. Campbell, Jr., District Judge


                   REPORT            AND           RECOMMENDATION

       By Order entered February 5, 2021 (Docket Entry No. 7), the Court referred this pro se

action to the Magistrate Judge for pretrial matters under 28 U.S.C. '' 636(b)(1), Rule 72 of the

Federal Rules of Civil Procedure, and the Local Rules of Court.

       Presently pending is Defendant’s motion (Docket Entry No. 21) “to transfer venue to

more appropriate forum and for partial dismissal.” Plaintiff has responded in opposition to the

motion.     See Docket Entry No. 23. For the reasons set out below, the undersigned respectfully

recommends that the motion be granted in part and denied in part, and that this action be

transferred to the Eastern District of Virginia.



                                       I. BACKGROUND

       Joy A. Allen (APlaintiff@)1 is a resident of Hermitage, Tennessee.     On December 22,

2020, she filed this pro se lawsuit against the Secretary of the Department of the Army



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         Although Plaintiff filed her complaint under the name “Joy A. Allen a/k/a Sandra D.”
and filed a request to change her name to “Joy A. Miller,” see Docket Entry No. 5, she has
signed all of her pleadings as “Joy A. Allen.”
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(“Department of the Army”). See Complaint (Docket Entry No. 1). Plaintiff brings claims

under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. '' 2000e, et seq. (“Title

VII”), based upon events that occurred during 2015 and 2016 when she worked as a civilian

contractor under the supervision of Department of the Army employees at a United States

military installation in Kuwait, Camp Arifjan. Id. at 3-8. Specifically, Plaintiff alleges that:

(1) she was denied religious accommodations; (2) she was subjected to a sexually hostile work

environment that was not remedied upon her complaints; (3) she was disparately treated; and,

(4) she was subjected to retaliation because of protected activity. Id. at 8-13.

       Although no copies of any administrative decisions are attached to the complaint,

Plaintiff asserts that she unsuccessfully pursued administrative remedies with the Equal

Employment Opportunity Commission (“EEOC”) prior to filing her complaint and received a

right-to-sue notice no more than 90 days prior to filing her complaint. Id. at 1 and 6-8.

Plaintiff asserts that federal question jurisdiction exists under 28 U.S.C. ' 331 and that venue is

proper in this District because she is a resident within the District and Defendant “regularly

contracts and does business within the District.” Id. at 2-3.    After being served with process,

Defendant filed the pending motion in lieu of an answer



                                   II. MOTION AND RESPONSE

       Although the actual motion itself is not a model of clarity,2 the crux of Defendant’s

argument is that this District is an incorrect venue for Plaintiff’s Title VII lawsuit because venue


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          Defendant’s motion does not refer to Rule 12(b)(3) of the Federal Rules of Civil
Procedure as the basis for the motion. However, because Defendant’s supporting memorandum
includes that reference, the Court construes the motion as seeking dismissal under Rule 12(b)(3)
because of improper venue. The Court further views the reference in the motion to 28 U.S.C. §§

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does not exist in this District under the specific venue provision applicable to Title VII cases that

is set out at 42 U.S.C. ' 2000e-5(f)(3).       Defendant contends that under this provision the

Eastern District of Virginia (“ED Virginia”) is the proper venue for Plaintiff’s lawsuit and that, if

the Court declines to dismiss the lawsuit, the lawsuit should be transferred to the ED Virginia.

       In response, Plaintiff argues primarily that Defendant misrepresents the standards for

transferring her lawsuit under 28 U.S.C. ' 1404(a), that transferring the lawsuit to the ED

Virginia would create a great inconvenience to her, and that Defendant has not carried its burden

of showing that a transfer of her lawsuit is justified. See Response in Opposition (Docket Entry

No. 23) and Sur-Reply (Docket Entry No. 29).3



                                        III.   ANALYSIS

A. Improper Venue

       When a defendant asserts that venue is improper in the court in which a lawsuit is filed

and seeks dismissal pursuant to Rule 12(b)(3), the burden of establishing venue falls on Plaintiff,

and the Court may examine facts outside of the complaint but A>must draw all reasonable

inferences and resolve factual conflicts in favor of the plaintiff.=@ Ian v. Bottom Line Record


2406(a) and 2404 as a typographical error since neither statutory provision is applicable.
Finally, at no point does Defendant actually seek a partial dismissal of any claims in this lawsuit
despite making that request in the style of the motion, and the Court therefore ignores this
request.
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          Plaintiff devotes much of her opposition to the motion to arguments concerning
dismissal for failure to state a claim under Rule 12(b)(6), personal jurisdiction, and the level of
contacts of Consolidated Analysis Centers, Incorporated, (“CACI”), with this District.
However, Defendant does not seek dismissal of her claims under Rule 12(b)(6) and arguments
about personal jurisdiction and the contacts of CACI with this District are not relevant to
determining proper venue, which is the only matter that is at issue. Accordingly, the Court will
not further address Plaintiff’s irrelevant arguments.

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Co., 2016 WL 8711721, at *2 (M.D. Tenn. July 1, 2016) (Crenshaw, J.) (quoting Gone to the

Beach, LLC, v. Choicepoint Serv., 434 F.Supp.2d 534, 536B37 (W.D. Tenn. 2006); Marion v.

Conley, 2006 WL 4608613, at *1 (E.D. Tenn. Oct. 4, 2006).

       The requirements for venue are set by statute. Kerobo v. Sw. Clean Fuels, Corp., 285

F.3d 531, 538 (6th Cir. 2002).    In the instant case, Defendant is correct that the proper venue for

this lawsuit is determined by 42 U.S.C. ' 2000eB5(f)(3), which is the specific statutory venue

provision governing Title VII actions.    Because Congress has set out a specific venue provision

within Title VII for claims arising under that statute, the general venue provisions set out in

28 U.S.C. ' 1391 do not control the issue of proper venue.       See Downing v. Foley & Lardner

LLP, 2010 WL 1494767, at *3 (E.D. Mich. Apr. 9, 2010).

       Under Section 2000e-5(f)(3),4 a plaintiff may bring a Title VII action in any one of four

possible judicial districts: (1) any judicial district in the state in which the unlawful employment

practice is alleged to have been committed; (2) in the judicial district in which the employment

records relevant to such practice are maintained and administered; (3) in the judicial district in

which the aggrieved person would have worked but for the alleged unlawful employment


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           42 U.S.C. ' 2000e-5(f)(3) provides:

       Each United States district court and each United States court of a place subject to
       the jurisdiction of the United States shall have jurisdiction of actions brought
       under this subchapter. Such an action may be brought in any judicial district in
       the State in which the unlawful employment practice is alleged to have been
       committed, in the judicial district in which the employment records relevant to
       such practice are maintained and administered, or in the judicial district in which
       the aggrieved person would have worked but for the alleged unlawful
       employment practice, but if the respondent is not found within any such district,
       such an action may be brought within the judicial district in which the respondent
       has his principal office. For purposes of sections 1404 and 1406 of Title 28, the
       judicial district in which the respondent has his principal office shall in all cases
       be considered a district in which the action might have been brought.

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practice; or, (4) if the respondent is not found within any district under the first three scenarios,

within the judicial district in which the respondent has his principal office.           42 U.S.C.

' 2000eB5(f)(3); Smith v. Kyphon, Inc., 578 F.Supp.2d 954, 959 (M.D. Tenn. 2008).

       Nothing in Plaintiff’s complaint or in her response to Defendant’s motion show that her

lawsuit may be brought within the Middle District of Tennessee under any of the venue rules set

out in 42 U.S.C. § 2000e-5(f)(3). Plaintiff’s claims are based entirely upon events that occurred

in Kuwait, and there is nothing showing that this District is (1) the location where Plaintiff’s

employment records are maintained and administered, (2) the judicial district in which Plaintiff

would have worked but for the alleged unlawful employment practices, or (3) the judicial district

in which Defendant has its principal office. Thus, Plaintiff fails to show that proper venue

exists in this District. See Stamper v. Shinseki, 2011 WL 3739217, at *3 (E.D. Tenn. Aug. 24,

2011) (“Venue is improper in the Eastern District of Tennessee under 42 U.S.C. § 2000e–5(f)(3)

because none of the statutory grounds is applicable.”); Whipstock v. Raytheon Co, 2007 WL

2318745, at *2 (E.D. Mich. Aug. 10, 2007) (“If the plaintiff brings suit in a jurisdiction that does

not satisfy one of the venue requirements listed in 42 U.S.C. § 2000e-5(f)(3), venue is

improper.”).

       The only connection between Tennessee and the instant lawsuit is that Plaintiff now

resides in this District. However, the district of plaintiff’s residence does not provide a basis for

venue under Title VII’s venue provision.      Although Plaintiff wishes to pursue her claims in this

District, she cannot create venue where it does not otherwise exist. See Buckley v. United

States, 2013 WL 2242995 (E.D. Tenn. May 21, 2013) (28 U.S.C. § 1391(e) does not create

venue for a lawsuit against the United States or an agency of the United States in a district

merely because an office of the federal defendant is located in that district).

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B. Dismissal or Transfer

        Having determined that Plaintiff’s lawsuit has been improperly filed in this District, the

question then becomes what to do with the case. 28 U.S.C. § 1406(a) provides that “[t]he

district court of a district in which is filed a case laying venue in the wrong division or district

shall dismiss, or if it be in the interest of justice, transfer such case to any district or division in

which it could have been brought.” 28 U.S.C. § 1406(a). That is, upon finding that venue is

improper in the district in which a case is filed, the Court has the discretion under 28 U.S.C.

' 1406(a) to dismiss the case or to transfer the case to a district where venue is proper.     First of

Michigan Corp. v. Branlet, 141 F.3d 260, 262 (6th Cir. 1998).

        Defendant has not made an actual argument that dismissal of the case is warranted

because of improper venue.        Given Plaintiff’s pro se status, her obvious desire to prosecute her

claims, and the fact that she would be required to pay a new filing fee upon the dismissal of this

case and the filing of a new case in the correct district, the Court finds that the interests of justice

do not require dismissal of the lawsuit because of improper venue.           Instead, the interests of

justice support transfer of the lawsuit to the correct district.         For the reasons set out in

Defendant’s motion and supporting memorandum, it appears that proper venue for Plaintiff’s

Title VII claims and her lawsuit is in the ED Virginia. Accordingly, it is in the interest of

justice to transfer this case to that district. See Jenkins v. West, 1995 WL 704018, at *1 (D.D.C.

Oct. 23, 1995) (employment discrimination claims against Department of the Army based upon

events occurring overseas were transferred to ED Virginia upon finding of improper venue in the

district where case was filed).

        Although both parties discuss transferring Plaintiff’s lawsuit pursuant to 28 U.S.C.

§ 1404(a), this discussion is misplaced in this case because transfer of a case under Section

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1404(a) is implicated only when the case has been filed in a proper district in the first instance.

See Van Dusen v. Barrack, 376 U.S. 612, 634 (1964); K-Tex, LLC v. Cintas Corp., 693

Fed.App'x 406, 409 (6th Cir. 2017); Wright v. Comm'r of Soc. Sec., 2008 WL 2246043, *2 (E.D.

Mich. May 30, 2008) (“In short, a transfer under § 1404 must be from proper district to proper

district and a transfer under § 1406 must be from improper district to proper district.”).   When a

lawsuit has been filed in an incorrect district venue wise, such as has occurred in the instant case,

transfer may occur only pursuant to Section 1406.     The factor of convenience of the parties and

witness, which is contained within Section 1404(a) but not in Section 1406(a), is not a relevant

factor that must be considered.



                                    RECOMENDATION

       For the reasons set out above, the it is respectfully RECOMMENDED that Defendant’s

motion to dismiss (Docket Entry No. 21) be:

       1) DENIED to the extent that Defendant seeks dismissal of this lawsuit under Rule

12(b)(3); and,

       2) GRANTED to the extent that Defendant seeks transfer of this lawsuit to the

appropriate venue.    In accordance with 28 U.S.C. § 1406(a), this case should be transferred to

the Eastern District of Virginia.

       ANY OBJECTIONS to this Report and Recommendation must be filed within fourteen

(14) days of service of this Report and Recommendation and must state with particularity the

specific portions of this Report and Recommendation to which objection is made. See Rule

72(b)(2) of the Federal Rules of Civil Procedure and Local Rule 72.02(a). Failure to file

written objections within the specified time can be deemed a waiver of the right to appeal the

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District Court's Order regarding the Report and Recommendation. See Thomas v. Arn, 474 U.S.

140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Any response to the

objections must be filed within fourteen (14) days after service of objections. See Federal Rule

72(b)(2) and Local Rule 72.02(b).

                                                   Respectfully submitted,




                                                   BARBARA D. HOLMES
                                                   United States Magistrate Judge




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